                         Case 18-12241-CSS             Doc 276        Filed 10/16/18        Page 1 of 13



                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


         In re:                                                        Chapter 11

         MATTRESS FIRM, INC., et al.,1                                 Case No. 18-12241 (CSS)

                                   Debtors.                            (Jointly Administered)

                                                                       Objection Deadline: October 30, 2018 at 4:00 p.m. (ET)
                                                                       Hearing Date: November 9, 2018 at 1:00 p.m. (ET)

                       DEBTORS’ FIFTH OMNIBUS MOTION FOR ENTRY OF AN
                     ORDER (I) AUTHORIZING DEBTORS TO (A) REJECT CERTAIN
             UNEXPIRED LEASES OF NONRESIDENTIAL REAL PROPERTY NUNC PRO TUNC TO
                 OCTOBER 31, 2018 AND (B) ABANDON CERTAIN PERSONAL PROPERTY
                 IN CONNECTION THEREWITH AND (II) GRANTING RELATED RELIEF

                       LANDLORDS RECEIVING THIS MOTION SHOULD LOCATE
                      THEIR NAMES AND LEASE(S) ON THE SCHEDULE OF LEASES
                         ATTACHED HERETO AS SCHEDULE 1 TO EXHIBIT A

                  Mattress Firm, Inc. and its affiliated debtors and debtors in possession in the above-captioned

         chapter 11 cases (collectively, the “Debtors”) submit this motion (this “Motion”), pursuant to

         sections 105(a), 362(d), 365(a), and 554(a) of title 11 of the United States Code, 11 U.S.C. §§ 101–

         1532 (the “Bankruptcy Code”) and rules 6006 and 6007 of the Federal Rules of Bankruptcy

         Procedure (the “Bankruptcy Rules”), for entry of an order, substantially in the form attached hereto

         as Exhibit A (the “Proposed Order”), (i) authorizing the Debtors to (a) reject certain unexpired

         leases (including any guarantees thereof and any amendments or modifications thereto or

         assignments or subleases thereof, collectively, the “Leases”) of nonresidential real property located

         at the addresses of the Debtors’ retail stores set forth on Schedule 1 to Exhibit A attached hereto


         1
          The last four digits of Mattress Firm Inc.’s federal tax identification number are 6008. The Debtors’ mailing address is
         10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11 cases, which are
         being jointly administered, a complete list of the Debtors and the last four digits of their federal tax identification
         numbers is not provided herein. This information may be obtained on the website of the Debtors’ noticing and claims
         agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
01:23752357.1
                       Case 18-12241-CSS          Doc 276        Filed 10/16/18    Page 2 of 13



         (collectively, the “Closing Stores”), nunc pro tunc to the Rejection Date (as defined below), and

         (b) abandon certain furniture, fixtures, equipment and other assets at the Closing Stores (collectively,

         the “Remaining Property”), each effective as of the Rejection Date (as defined below), and

         (ii) granting related relief. In support of this Motion, the Debtors respectfully state as follows:

                                  STATUS OF THE CASES AND JURISDICTION

                1.      On October 5, 2018 (the “Petition Date”), each of the Debtors filed a voluntary

         petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

         for the District of Delaware (the “Court”). The Debtors continue to operate the Debtors’ businesses

         and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

         Bankruptcy Code. No party has requested the appointment of a trustee or examiner in these cases,

         and no statutory committee has been appointed.

                2.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the

         Amended Standing Order of Reference from the United States District Court for the District of

         Delaware, dated February 29, 2012. This matter is a core proceeding within the meaning of 28

         U.S.C. § 157(b)(2), and the Debtors confirm their consent, pursuant to Local Rule 9013-1(f), to the

         entry of a final order or judgment by the Court in connection with this Motion if it is determined that

         the Court, absent consent of the parties, cannot enter final orders or judgments in connection

         herewith consistent with Article III of the United States Constitution.

                3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                4.      The statutory and other bases for the relief requested in this Motion are sections

         105(a), 362(d), 365(a), and 554(a) of the Bankruptcy Code and Bankruptcy Rules 6006 and 6007.




01:23752357.1

                                                             2
                        Case 18-12241-CSS            Doc 276         Filed 10/16/18    Page 3 of 13



                        THE DEBTORS’ PREPACKAGED PLAN OF REORGANIZATION

                 5.      On the Petition Date, the Debtors filed the Joint Prepackaged Chapter 11 Plan of

         Reorganization for Mattress Firm, Inc. and Its Debtor Affiliates [Docket No. 22] (the “Plan”) and

         the related disclosure statement [Docket No. 23] (the “Disclosure Statement”). On October 9, 2018,

         the Court entered an order scheduling a combined hearing for November 16, 2018 to consider

         approval of the Disclosure Statement and confirmation of the Plan [Docket No. 181]. All classes of

         claims against the Debtors are unimpaired under the Plan.

                                          BACKGROUND OF THE DEBTORS

                 6.      Additional information regarding the Debtors’ business, capital structure and the

         circumstances preceding the Petition Date are set forth in the Declaration of Hendré Ackermann in

         Support of the Debtors’ Chapter 11 Petitions and First Day Pleadings [Docket No. 25].

                                                         THE LEASES

                 7.      As of the Petition Date, the Debtors operated approximately 3,230 retail stores in 49

         states.2 As a key component of their restructuring strategy, the Debtors are engaged in ongoing

         efforts to optimize their retail store network. The Debtors, in consultation with their advisors, have

         analyzed store-level earnings, occupancy costs, and other data and identified certain stores that are

         underperforming or competing with other stores operated by the Debtors. On and following the

         Petition Date, the Debtors filed four omnibus motions to reject a total of 306 unexpired leases of

         nonresidential real property that correspond to certain of the Debtors’ retail stores (collectively, the

         “Pending Rejection Motions”). See Docket Nos. 38, 39, 40 & 190. By this Motion, the Debtors, in

         their reasonable business judgment, are requesting authority to reject the Leases of 99 additional

         stores—i.e., the Closing Stores—as of October 31, 2018 (together with the Pending Rejection
         2
          The Debtors’ operations also include approximately 125 franchisee-operated stores in Alaska, Montana, New Mexico,
         North Dakota, South Dakota and West Virginia, as well as certain franchised markets in Georgia, Iowa, Mississippi,
         New York, Oklahoma, South Carolina and Texas, which also operate under the Mattress Firm® brand name.
01:23752357.1

                                                                 3
                      Case 18-12241-CSS         Doc 276        Filed 10/16/18   Page 4 of 13



         Motions, collectively, the “Omnibus Lease Rejection Motions”), which is the date by which the

         Debtors will have ceased operations at the Closing Stores, vacated and surrendered possession of the

         Closing Stores, and delivered the keys to the Closing Stores to the respective landlords (such date,

         with respect to each Closing Store, the “Rejection Date”).

                8.      The Leases provide no benefit to the Debtors’ estates. By rejecting the Leases, the

         Debtors will save approximately $1.2 million per month in rent and associated costs. Absent

         rejection, the Debtors would be obligated to continue to pay rent under the Leases even though the

         Debtors will have ceased operations at, and will no longer continue in possession of, the Closing

         Stores. Moreover, in addition to their obligations to pay rent under the Leases, the Debtors would

         also be obligated to pay certain real property taxes, utilities, insurance and similar charges. The

         Debtors have determined in their business judgment that such costs constitute a waste of estate

         assets. The cost of maintaining the Closing Stores outweighs any revenues that the Closing Stores

         currently generate or are likely to generate in the future. Moreover, given the obligations under the

         Leases and current market conditions, the Debtors have concluded, in consultation with their

         advisors, that the Leases are not marketable and are unlikely to generate material value for the

         Debtors’ estates.

                                          THE REMAINING PROPERTY

                9.      In the ordinary course of business, the Debtors have accumulated certain

         miscellaneous assets at the Closing Stores, including certain furniture, fixtures, and equipment of de

         minimis value. The Debtors generally will remove these assets from the Closing Stores and transport

         such assets to the Debtors’ distribution centers or other stores. The Debtors have determined,

         however, in the exercise of their business judgment, that certain of these assets—i.e., the Remaining

         Property—will be exceedingly difficult or expensive to remove or store. Accordingly, the Debtors


01:23752357.1

                                                           4
                         Case 18-12241-CSS               Doc 276          Filed 10/16/18       Page 5 of 13



         will not realize any economic benefit by retaining the Remaining Property. Therefore, the Debtors

         are requesting authority to abandon any Remaining Property at the Closing Stores.

                                                       RELIEF REQUESTED

                  10.      By this Motion, the Debtors request entry of the Proposed Order, substantially in the

         form attached hereto as Exhibit A, (i) authorizing the Debtors to (a) reject the Leases set forth on

         Schedule 1 to Exhibit A attached hereto nunc pro tunc to the Rejection Date and (b) abandon the

         Remaining Property, each effective as of the Rejection Date, and (ii) granting related relief. The

         Debtors reserve all rights to modify the schedule of Leases, including by removing one or more

         Leases from Schedule 1, without prejudice to their rights to reject such Leases at a later date.3

                                                         BASIS FOR RELIEF

          I.    The Court Should Authorize the Rejection of the Leases under Section 365(a) of the
                Bankruptcy Code as a Reasonable Exercise of the Debtors’ Business Judgment.

                  11.      Section 365(a) of the Bankruptcy Code provides that a debtor, “subject to the court’s

         approval, may assume or reject any . . . executory contract or unexpired lease of the debtor.”

         11 U.S.C. § 365(a). The purpose behind section 365(a) is “to permit the trustee or debtor-in-

         possession to use valuable property of the estate and to renounce title to and abandon burdensome

         property.” In re Republic Airways Holdings Inc., 547 B.R. 578, 582 (Bankr. S.D.N.Y. 2016)

         (quoting Orion Pictures Corp. v. Showtime Networks, Inc. (In re Orion Pictures Corp.), 4 F.3d 1095,

         1098 (2d Cir. 1993)); see also Nat’l Labor Relations Bd. v. Bildisco & Bildisco (In re Bildisco), 465

         U.S. 513, 528 (1984) (“[T]he authority to reject an executory contract is vital to the basic purpose to


         3
           The Debtors may also request authority to reject additional leases if their efforts to renegotiate the terms of such leases
         are unsuccessful. On October 10, 2018, the Debtors filed the Debtors’ Motion for Entry of an Order (I) Approving
         Procedures for Rejecting Unexpired Leases of Nonresidential Real Property, (II) Authorizing the Debtors to Enter into
         Amendments to Certain Unexpired Leases of Nonresidential Real Property, and (III) Granting Related Relief [Docket
         No. 211] (the “Rejection Procedures Motion”). If granted, the relief requested in the Rejection Procedures Motion would
         not apply to the Leases that are the subject of the Omnibus Lease Rejection Motions and would only apply to additional
         leases, if any, that the Debtors request authority to reject pursuant to the procedures set forth in the Rejection Procedures
         Motion.
01:23752357.1

                                                                      5
                      Case 18-12241-CSS          Doc 276         Filed 10/16/18   Page 6 of 13



         a Chapter 11 reorganization, because rejection can release the debtor’s estate from burdensome

         obligations that can impede a successful reorganization.”); In re Exide Techs., 607 F.3d 957, 967 (3d

         Cir. 2010) (“Courts may use § 365 to free a [debtor] from burdensome duties that hinder its

         reorganization.”).

                12.     The standard applied by courts to determine whether the assumption or rejection of an

         unexpired nonresidential lease should be authorized is the “business judgment” test, which requires a

         debtor to have determined that the requested assumption or rejection would be beneficial to its

         estate. See Grp. of Institutional Inv’rs, Inc. v. Chi., Milwaukee, St. Paul & Pac. R.R., 318 U.S. 523,

         550 (1943) (noting that “the question whether a lease should be rejected . . . is one of business

         judgment”); In re Bildisco, 682 F.2d 72, 79 (3d Cir. 1982), aff’d, 465 U.S. 513 (“The usual test for

         rejection of an executory contract is simply whether rejection would benefit the estate, the ‘business

         judgment’ test.”); accord In re HQ Glob. Holdings, Inc., 290 B.R. 507, 511 (Bankr. D. Del. 2003).

                13.     In applying the business judgment standard, bankruptcy courts give deference to a

         debtor’s decision to assume or reject leases. See Computer Sales Int’l, Inc. v. Fed. Mogul Global,

         Inc. (In re Fed. Mogul Global, Inc.), 293 B.R. 124, 126 (D. Del. 2003) (“The business judgment test

         dictates that a court should approve a debtor’s decision to reject a contract unless that decision is the

         product of bad faith or a gross abuse of discretion”); In re Trans World Airlines, Inc., 261 B.R. 103,

         121 (Bankr. D. Del. 2001) (“[A] debtor’s decision to reject an executory contract must be summarily

         affirmed unless it is the product of bad faith, or whim or caprice.”).

                14.     The Debtors’ rejection of the Leases is within the Debtors’ business judgment and

         will serve the best interests of their estates. As stated above, the Debtors are engaged in ongoing

         efforts to optimize their retail network and, in consultation with their advisors, have determined to

         cease operations at the Closing Stores. The Debtors are requesting authority to reject the Leases to


01:23752357.1

                                                             6
                      Case 18-12241-CSS         Doc 276        Filed 10/16/18   Page 7 of 13



         avoid the incurrence of any additional, unnecessary administrative expenses in connection with the

         Closing Stores.   The Debtors have concluded that the cost of maintaining the Closing Stores

         outweighs any revenues that the Closing Stores currently generate or are likely to generate in the

         future, and that the costs associated with the Leases exceed any marginal benefits that could

         potentially be achieved from the assignment or sublease of the Leases. For the foregoing reasons,

         the Debtors believe that rejecting the Leases is a reasonable exercise of their business judgment and

         should be approved.

        II.     The Court Should Authorize the Rejection of the Leases Effective Nunc Pro Tunc to the
                Rejection Date.

                15.     The Debtors seek an effective rejection date for the Leases nunc pro tunc to the

         Rejection Date in order to avoid paying any unnecessary expenses related to the Leases. A court

         may permit such retroactive rejection to avoid unduly exposing a debtor’s estate to unwarranted

         postpetition administrative or other expenses. See, e.g., Thinking Machines Corp. v. Mellon Fin.

         Servs. Corp. (In re Thinking Machines Corp.), 67 F.3d 1021, 1028–29 (1st Cir. 1995) (“In the

         section 365 context . . . bankruptcy courts may enter retroactive orders of approval, and should do so

         when the balance of equities preponderates in favor of such remediation.”); In re DBSI, Inc., 409

         B.R. 720, 734 n.4 (Bankr. D. Del. 2009) (“Under appropriate circumstances, [a] Court may enter a

         lease rejection order with an effective date earlier than the date the order is entered.”); In re Chi-

         Chi’s, Inc., 305 B.R. 396, 399 (Bankr. D. Del. 2004) (finding that “the court’s power to grant

         retroactive relief is derived from the bankruptcy court’s equitable powers so long as it promotes the

         purposes of § 365(a)” and granting retroactive relief to the date on which the debtors surrendered the

         premises to their landlords); In re Fleming Cos., 304 B.R. 85, 96 (Bankr. D. Del. 2003) (rejection

         nunc pro tunc permitted to the date of the motion or the date the premises surrendered).



01:23752357.1

                                                           7
                      Case 18-12241-CSS         Doc 276        Filed 10/16/18   Page 8 of 13



                16.     When principles of equity so dictate, courts may permit nunc pro tunc rejection to the

         date on which the counterparty to the lease was given definitive notice of the debtor’s intent to

         reject. See In re KDA Grp., Inc., No. 16-21821-GLT, 2017 WL 4216563, at *4 (Bankr. W.D. Pa.

         Sept. 20, 2017) (“[M]any courts within the Third Circuit have adopted the notion that a lease may be

         retroactively rejected when principles of equity so dictate.”) (quotations omitted); In re Fleming

         Cos., 304 B.R. at 96 (“[T]o grant nunc pro tunc rejection, the Debtors must have stated an

         unequivocal intent to reject the leases.”). Courts in this jurisdiction have previously considered the

         question of retroactive rejection of unexpired leases. See In re Namco Cybertainment, Inc., Case

         No. 98-00173 (PJW) (Bankr. D. Del. Feb. 6, 1998). In Namco, the court permitted retroactive

         rejection on the conditions that (a) the property (and the keys thereto) subject to a lease were

         surrendered with an unequivocal statement of abandonment to the landlord or lessor, (b) the motion

         was filed and served on the landlord or lessor, (c) the official committee consented to the relief

         requested in the motion, and (d) the debtor acknowledged that it would not have the right to

         withdraw the motion prior to the hearing.

                17.     Here, the Debtors submit that the Court should authorize the rejection of the Leases

         nunc pro tunc to the Rejection Date. There is no remaining benefit to the Debtors’ estates from the

         Leases because the Debtors are in the process of the exiting the Closing Stores. The Debtors do not

         need the leasehold interests created by the Leases of the Closing Stores to conduct their business.

         On the other hand, requiring the Debtors to continue to perform under the Leases after the Rejection

         Date could impose onerous obligations on the Debtors and their estates. Second, the Debtors believe

         that the filing and service of this Motion fulfills the purpose of the Namco factors—establishing an

         unequivocal relinquishment—under the circumstances.           The filing of this Motion serves to

         underscore and reiterates the Debtors’ unequivocal intent to abandon their interest in the premises of


01:23752357.1

                                                           8
                       Case 18-12241-CSS           Doc 276        Filed 10/16/18   Page 9 of 13



         the Closing Stores. Without a retroactive date of rejection, the Debtors may incur unnecessary

         administrative charges for Leases that are not necessary to their ongoing business operations.

         Moreover, the lessors under the Leases will not be unduly prejudiced by rejection nunc pro tunc to

         the Rejection Date because, on the date hereof, the Debtors have served this Motion on each lessor

         and/or their agents or representatives, thereby advising the lessors that the Debtors intend to reject

         the Leases effective as of the Rejection Date. Furthermore, on or before the Rejection Date the

         Debtors will relinquish the keys to the premises of the Leases and will abandon the Premises and, in

         conjunction therewith, indicate that they are unequivocally surrendering possession as a result

         thereof. The keys will be delivered to the lessors under the Leases, together with an appropriate

         correspondence, on or before October 31, 2018.

                 18.     In light of the foregoing facts and circumstances, the Debtors respectfully submit that

         their rejection of the Leases under section 365(a) of the Bankruptcy Code, nunc pro tunc to the

         Rejection Date, is a sound exercise of their business judgment and is necessary, prudent, and in the

         best interests of the Debtors, their estates, and their creditors.

        III.     The Court Should Authorize the Debtors to Abandon the Remaining Property under
                 Section 554(a) of the Bankruptcy Code.

                 19.     Under section 554(a) of the Bankruptcy Code, a debtor, after notice and a hearing, is

         authorized to “abandon any property of the estate that is burdensome to the estate or that is of

         inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a). In abandoning property under

         section 554, “the debtor ‘need only demonstrate that [it] has exercised sound business judgment in

         making the determination to abandon.” In re Contract Research Sols., Inc., Case No. 12-11004

         (KJC), 2013 Bankr. LEXIS 1784, at *11 (Bankr. D. Del. May 1, 2013). The right to abandon

         property is virtually unfettered, unless (a) abandonment of the property will contravene laws

         designed to protect public health and safety or (b) the property poses an imminent threat to the

01:23752357.1

                                                              9
                      Case 18-12241-CSS          Doc 276      Filed 10/16/18   Page 10 of 13



         public’s welfare. See Midlantic Nat’l Bank v. N.J. Dep’t of Envtl. Prot., 474 U.S. 494, 501 (1986).

         Neither of these limitations is relevant under the instant facts.

                20.     Any Remaining Property left at the Closing Stores is of inconsequential value to the

         Debtors’ estates, and the cost to the Debtors of retrieving, storing, marketing, and reselling the

         Remaining Property will exceed any realistic economic benefit that might be realized by retaining

         such property. Accordingly, the Debtors have determined, in the exercise of their sound business

         judgment, that their decision to abandon any Remaining Property will be in the best interests of the

         Debtors and their estates.

                21.     To facilitate the Debtors’ abandonment of the Remaining Property, the Debtors also

         request authorization under section 362(d) of the Bankruptcy Code, which permits a modification of

         the automatic stay for “cause,” to the extent necessary to permit the relevant landlords to dispose of

         any Remaining Property without further notice or any liability to the Debtors or any third parties and

         without waiving any claims against the Debtors.

                                             RESERVATION OF RIGHTS

                22.     Nothing contained in this motion or any actions taken by the Debtors pursuant to

         relief granted in the Order is intended or should be construed as: (a) an admission as to the validity,

         priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or

         any other party-in-interest’s rights to dispute any particular claim on any grounds; (c) a promise or

         requirement to pay any particular claim; (d) an implication or admission that any particular claim is

         of a type specified or defined in this motion; (e) a request or authorization to assume any agreement,

         contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or limitation of the

         Debtors’ or any other party-in-interest’s rights under the Bankruptcy Code or any other applicable

         law; or (g) a concession by the Debtors or any other party-in-interest that any liens (contractual,


01:23752357.1

                                                             10
                       Case 18-12241-CSS           Doc 276     Filed 10/16/18     Page 11 of 13



         common law, statutory, or otherwise) satisfied pursuant to this motion are valid and the Debtors and

         all other parties-in-interest expressly reserve their rights to contest the extent, validity, or perfection,

         or to seek avoidance of all such liens.

                  WAIVER OF BANKRUPTCY RULE 6004(a) AND 6004(h) REQUIREMENTS

                 23.     In addition, by this Motion, the Debtors request a waiver of any stay of the

         effectiveness of the order approving this Motion. Pursuant to Bankruptcy Rule 6004(h), “[a]n order

         authorizing the use, sale, or lease of property other than cash collateral is stayed until the expiration

         of 14 days after entry of the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h).

         As set forth above, the Debtors require immediate relief in the form of an order authorizing their

         rejection of the Leases as of the Rejection Date. Accordingly, the Debtors submit that ample cause

         exists to justify a waiver of the 14-day stay imposed by Bankruptcy Rule 6004(h), to the extent that

         it applies.

                 24.     Similarly, for the reasons stated above, the Debtors request a waiver of the notice

         requirements of Bankruptcy Rule 6004(a) to the extent they are deemed applicable.

                                                         NOTICE

                 25.     Notice of this Motion will be provided to (i) the landlords under the Leases; (ii) the

         U.S. Trustee; (iii) the holders of the thirty (30) largest unsecured claims against the Debtors on a

         consolidated basis; (iv) counsel to the DIP Agents; (v) counsel to the Prepetition ABL Agent;

         (vi) counsel to the Prepetition Term Loan Lender; (vii) counsel to the exit term loan financing

         backstop group; (viii) the United States Attorney’s Office for the District of Delaware; (ix) the

         Internal Revenue Service; (x) the United States Department of Justice; and (xi) any party that has

         requested notice pursuant to Bankruptcy Rule 2002. Although Bankruptcy Rule 6007 requires the

         Debtors to serve a motion to abandon property on, among other parties, all of the Debtors’ creditors,


01:23752357.1

                                                             11
                      Case 18-12241-CSS          Doc 276     Filed 10/16/18     Page 12 of 13



         Local Rule 2002-1(b) abrogates that rule. Accordingly, the Debtors submit that, in light of the

         nature of the relief requested, no other or further notice need be given.


                                     [Remainder of Page Intentionally Left Blank]




01:23752357.1

                                                            12
                     Case 18-12241-CSS         Doc 276     Filed 10/16/18     Page 13 of 13



                WHEREFORE the Debtors respectfully request that the Court enter the Proposed Order,

         substantially in the form attached hereto, granting the relief requested herein and such other and any

         further relief as the Court may deem just and proper.



         Dated: October 16, 2018              SIDLEY AUSTIN LLP
         Wilmington, Delaware                 Bojan Guzina
                                              Matthew E. Linder
                                              Michael Fishel
                                              Blair M. Warner
                                              One South Dearborn Street
                                              Chicago, Illinois 60603
                                              Telephone: (312) 853-7000
                                              Facsimile: (312) 853-7036
                                                       -and-
                                              YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                              /s/ Ashley E. Jacobs
                                              Robert S. Brady (No. 2847)
                                              Edmon L. Morton (No. 3856)
                                              Ashley E. Jacobs (No. 5635)
                                              1000 North King Street
                                              Wilmington, Delaware 19801
                                              Telephone: (302) 571-6600
                                              Facsimile: (302) 571-1253

                                              PROPOSED ATTORNEYS FOR THE DEBTORS
                                              AND DEBTORS IN POSSESSION




01:23752357.1

                                                          13
